Case 1:17-mc-00151-LPS Document 441 Filed 02/09/22 Page 1 of 2 PageID #: 11696




                    UNITED STATES COURT OF APPEALS
                         FOR THE THIRD CIRCUIT
                              ___________

                         Nos. 21-1276, 21-1277, 21-1289
                                  ___________

               CRYSTALLEX INTERNATIONAL CORPORATION

                                        v.

                  BOLIVARIAN REPUBLIC OF VENEZUELA

          CITGO PETROLEUM CORPORATION; PDV HOLDING, INC.;
                   PETROLEOS DE VENEZUELA, S.A.,
                         (Intervenors in D.C.)

            Citgo Petroleum Corporation and PDV Holding, Inc.,
                               Appellants in No. 21-1276

            Petróleos De Venezuela, S.A.,
                               Appellant in No. 21-1277

            Bolivarian Republic of Venezuela
                                Appellant in No. 21-1289
                                   ____________

                  On Appeal from the United States District Court
                             for the District of Delaware
                          (D.C. Civil No. 1-17-mc-00151)
                    District Judge: Honorable Leonard P. Stark
                                    ____________

                            Argued: December 7, 2021

                   Before: SHWARTZ, PORTER, and FISHER,
                               Circuit Judges.
                               ____________

                                  JUDGMENT
                                  ____________
Case 1:17-mc-00151-LPS Document 441 Filed 02/09/22 Page 2 of 2 PageID #: 11697




        This cause came to be considered on the record from the United States District Court
for the District of Delaware and was argued on December 7, 2021. On consideration
whereof, it is now ORDERED and ADJUDGED by this Court that the appeals from the
District Court’s order dated January 14, 2021, be DISMISSED for lack of jurisdiction.
Costs are to be taxed against Appellants. All of the above in accordance with the Opinion
of this Court.


                                                                   ATTEST:



                                                                   s/ Patricia S. Dodszuweit
                                                                   Clerk
Dated: January 18, 2022


Costs taxed in favor of Appellee Crystallex International Corporation as follows:

Brief         $129.00


TOTAL         $129.00


                            Certified as a true copy and issued in lieu
                            of a formal mandate on February 9, 2022


                          Teste:
                          Clerk, U.S. Court of Appeals for the Third Circuit




                                               2
